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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                           NORTHERN DIVISION

          CHARLES SLAUGHTER
                                                                 PLAINTIFF
          V.            CIVIL ACTION NO. 3:20-CV-789-CWR-FKB

          DR. DANIEL P. EDNEY, IN
          HIS OFFICIAL CAPACITY AS
          THE MISSISSIPPI STATE
          HEALTH OFFICER
                                                                 DEFENDANT

          MISSISSIPPI ASSOCIATION FOR
          HOME CARE
                                                 INTERVENOR DEFENDANT



                     DEPOSITION OF CHARLES SLAUGHTER


          Taken at the instance of the Defendant at Butler
           Snow, LLP, 1020 Highland Colony Parkway, Suite
          1400 Ridgeland, Mississippi 39157, on Wednesday,
                           March 22, 2023,
                       beginning at 10:00 a.m.




                                   REPORTED BY:
                       ROBIN G. BURWELL, CCR #1651



   Jackson                   Brooks Court Reporting                   Meridian
   Gulfport                      1-800-245-3376                    New Orleans
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     1                 MR. RICE:     Objection to form.
     2                 THE WITNESS:      Well, sure.        Any --
     3                 MR. RICE:     Just let me put an objection
     4    on the record.       Objection to form, but you can
     5    answer.
     6                 THE WITNESS:      Sure.     Anytime you open a
     7    business, you have to look at expenses, what it
     8    would take.        And I've done that.        In fact, if
     9    we -- if I was able to do it, the way I would want
    10    to do it, and I think would open up for other
    11    physical therapists and occupational therapists.
    12                 Because the two schools, there's not a
    13    shortage like there was back when this was done.
    14    And so if a physical therapist, an occupational
    15    therapist, a nurse, a speech therapist and a
    16    couple of aids opened one, then you would only
    17    have the expense of the people who were actually
    18    providing the care.        You wouldn't have a big
    19    bureaucracy.       So we could lower the cost of home
    20    health agencies, which is a big thing because if
    21    we don't do something for Medicare, the
    22    projections is that it will go bankrupt by 2030.
    23    So this is a way to reduce the cost of home health
    24    care.
    25            Q.   (By Ms. Smith)         We're going to go get



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